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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                       X

HIMELDA MENDEZ, ON BEHALF OF
ALL OTHER PERSONS SIMILARLY
SITUATED,

                                     Plaintiffs,           Case No.: 1:19-cv-09023-JPO
-against-

KASMIN GALLERY, INC.,

                                    Defendant.
                                                       X

                                      CONSENT DECREE

               1.      This Consent Decree is entered into as of the Effective Date, as defined

below in Paragraph 10, by and between the following parties: Plaintiff, Himelda Mendez

(“Plaintiff”), and Defendant, Paul Kasmin Gallery, Inc. d/b/a Kasmin (incorrectly named in

the Complaint as “Kasmin Gallery, Inc.”) (“Defendant”).             Plaintiff and Defendant shall

hereinafter be referred to as, the “Parties” for the purposes and on the terms specified herein.

                                           RECITALS

               2.      Title III of the Americans with Disabilities Act of 1990 (“ADA”), 42

U.S.C. §§ 12181-12189 (“ADA”) and its implementing regulation, 28 C.F.R. pt. 36, prohibit

discrimination on the basis of disability in the full and equal enjoyment of the goods, services,

facilities, privileges, advantages, and accommodations by any private entity that owns, leases

(or leases to), or operates any place of public accommodation. 42 U.S.C. § 12182(a); 28 C.F.R.

§ 36.201(a).

               3.      Plaintiff filed this lawsuit in the U.S. District Court for the Southern

District of New York entitled Himelda Mendez, on behalf of all other persons similarly situated v.


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Kasmin Gallery, Inc. (Docket No. 1:19-cv-09023-JPO) (the “Action”). The Plaintiff alleged that

Defendant’s website: www.kasmingallery.com (the “Website”), is not fully accessible to

individuals with disabilities in violation of Title III of the Americans with Disabilities Act of 1990

(“ADA”), the New York State Human Rights Law (“NYSHRL”), the New York State Civil Rights

Law (“NYSCRL”), and the New York City Human Rights Law (“NYCHRL”).

               4.       Defendant expressly denies that the Website violates any federal, state or

local law, including the ADA, NYSHRL, NYSCRL, and the NYCHRL, and any other wrongdoing

or liability whatsoever. By entry into this Consent Decree, Defendant does not admit any

wrongdoing.

               5.       This Consent Decree resolves, settles, and compromises all issues

between the Parties in the Action.

               6.       This Consent Decree is entered into by the Plaintiff, individually.

                                         JURISDICTION

               7.       Plaintiff alleges that Defendant is a private entity that owns and/or

operates the Website which is available through the internet to personal computers, laptops,

mobile devices, tablets, and other similar technology. Plaintiff contends that Defendant’s

Website is a service, privilege, or advantage of the Defendant’s physical location, thus

rendering it a public accommodation subject to Title III of the ADA. 42 U.S.C. §12181(7);

12182(a). Defendant denies that its Website is a public accommodation or a place of public

accommodation or are otherwise subject to Title III of the ADA.

               8.       This Court has jurisdiction over this action under 28 U.S.C. § 1331, and

42 U.S.C. § 12188. The Parties agree that for purposes of the Action and this Consent Decree

venue is appropriate.



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                                  AGREED RESOLUTION

               9.     Plaintiff and Defendant agree that it is in the Parties’ best interest to

resolve the Action on mutually agreeable terms without further litigation. Accordingly, the

Parties agree to the entry of this Consent Decree without trial or further adjudication of any

issues of fact or law raised in Plaintiff's Complaint. In resolution of this action, the Parties

hereby AGREE to the following:

                                        DEFINITIONS

               10.    Effective Date means the date on which this Consent Decree is entered

on the Court’s Docket Sheet following approval by the Court.

               11.    Reasonable Efforts means, with respect to a given goal or obligation, the

efforts that a reasonable person or entity in Defendant's position would use to achieve that goal

or obligation. Any disagreement by the Parties as to whether Defendant has used Reasonable

Efforts as provided for under this Consent Decree shall be subject to the dispute resolution

procedures set forth in paragraphs 16 through 22 of this Consent Decree. Reasonable Efforts

shall be interpreted so as to not require Defendant to undertake efforts whose cost, difficulty

or impact on Defendant’s Website could constitute an undue burden, as defined in Title III of

the ADA but as applied solely to Defendant’s Website - as though they are collectively a

standalone business entity, or which could result in a fundamental alteration in the manner in

which Defendant operates its Website - or the primary functions related thereto, or which could

result in a loss of revenue or traffic on its Website related operations.

                                             TERM

               12.    The term of this Consent Decree shall commence as of the Effective Date

and remain in effect for the earlier of: (1) twenty-four (24) months from the Effective Date; or



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(2) the date, if any, that the regulations are adopted in the Department of Justice’s anticipated

proposed regulations for websites under Title III of the ADA.

                GENERAL NONDISCRIMINATION REQUIREMENTS

              13.     Pursuant to the terms of this Consent Decree, Defendant:

                      a. Shall not deny persons with a disability (as defined under the ADA),

                          including the Plaintiff, the opportunity to participate in and benefit

                          from    the    goods,       services,   privileges,   advantages,   and

                          accommodations through the Website as set forth herein. 42 U.S.C.

                          §12182(b)(1)(A)(i); 28 C.F.R. § 36.202(a);

                      b. shall use Reasonable Efforts to provide persons with a disability (as

                          defined under the ADA), including the Plaintiff, an equal opportunity

                          to participate in or benefit from the goods, services, privileges,

                          advantages, and accommodations provided through the Website as

                          set forth herein. 42 U.S.C. § 12182(b)(2)(A)(ii); 28 C.F.R. §

                          36.202(b); and

                      c. shall use Reasonable Efforts to ensure that persons with a disability

                          (as defined under the ADA), including the Plaintiff, are not excluded,

                          denied services, segregated, or otherwise treated differently because

                          of the absence of auxiliary aids and services, through the Website as

                          set forth herein. 42 U.S.C. § 12182(b)(2)(A)(iii); 28 C.F.R. § 36.303.

                     COMPLIANCE WITH TITLE III OF THE ADA

              14.     Web Accessibility Conformance Timeline: Defendant shall ensure full

and equal enjoyment of the goods, services, privileges, advantages, and accommodations

provided by and through the Website according to the following timeline and requirements
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provided that the following dates will be extended in the instance that the Department of Justice

releases regulations for websites under Title III of the ADA while this Consent Decree is in

effect and which contain compliance dates and/or deadlines further in the future than the dates

set forth herein:

                      a. Within twenty-four (24) months of the Effective Date, the Defendant

                          shall ensure that the Website, if in existence, substantially conforms

                          to the Web Content Accessibility Guidelines 2.0 Level A and AA

                          Success Criteria ("WCAG 2.0 AA") in such a manner so that the

                          Website will be accessible to persons with disabilities as set forth in

                          Paragraph 20 below.

                      b. Defendant shall not be responsible for ensuring that third party

                          content or plug-ins whose coding is not solely controlled by

                          Defendant but are otherwise located on the Website or linked to from

                          the Website, are accessible or otherwise conform to WCAG 2.0 AA.

                            SPECIFIC RELIEF TO PLAINTIFF

               15.    Specific Relief: The Plaintiff and the Defendant have agreed to settle all

matters relating to costs, damages, attorneys’ fees, experts’ fees, other financial matters,

relating to any alleged inaccessibility of the Website through a separate agreement (the

“Settlement Agreement”) which is not incorporated into this Consent Decree.

                     PROCEDURES IN THE EVENT OF DISPUTES

               16.    The procedures set forth in Paragraphs 17 through 19 must be exhausted

in the event that (i) Plaintiff alleges that Defendant has failed to meet its obligations pursuant

to this Consent Decree or (ii) Defendant alleges that there is a criteria of WCAG 2.0 AA with

which it cannot substantially comply as set forth herein. There will be no breach of this Consent
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Decree by Defendant in connection with such allegations until the following procedures have

been exhausted.

               17.     If a party believes that the other party hereto has not complied in all

material respects with any provision of the Consent Decree, that party shall provide the other

party with written notice of non-compliance containing the following information: (i) the

alleged act of non-compliance; (ii) a reference to the specific provision(s) of the Consent

Decree that is not being complied with in all material respects; (iii) a statement of the remedial

action sought by the initiating party; and (iv) a reasonably detailed statement of the specific

facts, circumstances and legal argument supporting the position of the initiating party. Plaintiff

will notify Defendant in writing after the dates for compliance set forth herein if Plaintiff

believes that the Website is in any way not compliant with this Consent Decree. Defendant

will notify Plaintiff in writing if it believes there is a criteria of this Consent Decree with which

it cannot substantially comply hereunder. All notifications must include reasonable detail and

shall be made in the manner set forth in Paragraph 22.

               18.     Within sixty (60) days of either Party receiving notice as described in

Paragraph 17, the other Party will respond in writing to the notice. Within fifteen (15) days of

receipt of the response, the Parties will meet by telephone, or in person, in an attempt to

informally resolve the issue.

               19.     If the issue remains unresolved within thirty (30) days of the meeting

referenced in Paragraph 18, the Parties will each have an additional thirty (30) days to select

an expert and the two experts will mutually select an independent accessibility consultant with

substantial experience in accessible website design who will evaluate the particular item(s)

raised based on whether a person, who has a disability and uses screen reader software and has



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average screen reader competency (“person with a Visual Impairment who has average screen

reader competency”), can adequately utilize the Website.

               20.    There will be no breach of this Consent Decree unless (a) the

independent accessibility consultant determines that a particular item(s) cannot be

accomplished by a person with a disability who has average screen reader competency using a

prominent commercially available screen reader such as Jaws, Voiceover, or NVDA in

combination with one of the following browsers (in versions of which that are currently

supported by their publishers): Internet Explorer, Firefox, Safari and Chrome; and (b)

Defendant fails to remedy the issue using Reasonable Efforts within a reasonable period of

time of not less than ninety (90) days of receiving the accessibility consultant’s opinion. If the

accessibility consultant believes that a reasonable time using Reasonable Efforts to remedy the

items found not to be usable is longer than ninety (90) days, then the Parties may agree on a

longer time period without leave of Court so long as the extension is documented in writing

and executed by the Parties to this Agreement or their respective counsel. If the accessibility

consultant finds that a particular item found not to be usable cannot be remedied using

Reasonable Efforts, Defendant shall not be obligated to remedy that item.

               21.    Any of the time periods set forth in Paragraphs 17 through 19 may be

extended by mutual agreement of the Parties.

               22.    Any notice or communication required or permitted to be given to the

Parties hereunder shall be given in writing by e-mail and by overnight express mail or United

States first class mail, addressed as follows:

               For PLAINTIFF:                        Bradly G. Marks, Esq.
                                                     The Marks Law Firm, P.C.
                                                     175 Varick Street, 3rd Floor
                                                     New York, New York 10014
                                                     Email: brad@markslawpc.com
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                                                     Phone: 646-770-3775

               For DEFENDANT:                        Joseph J. DiPalma, Esq.
                                                     JACKSON LEWIS P.C.
                                                     44 South Broadway, 14th Floor
                                                     White Plains, New York 10601
                                                     Tel: (914) 872-6920
                                                     Joseph.DiPalma@jacksonlewis.com

                                       MODIFICATION

               23.    No modification of this Consent Decree shall be effective unless in

writing and signed by authorized representatives of all Parties.

                      ENFORCEMENT AND OTHER PROVISIONS

               24.    The interpretation and enforcement of this Consent Decree shall be

governed by the laws of the State of New York.

               25.    This Consent Decree contains the entire agreement of the Plaintiff and

the Defendant concerning the subject matter described in Paragraph 3, other than the terms of

the Settlement Agreement, and no other statement, promise, or agreement, either written or

oral, made by any party or agent of any party, that is not contained in this Consent Decree, and

concerns the subject matter described in Paragraph 3, shall be enforceable, other than the

Settlement Agreement.

               26.    If any provision of this Consent Decree is determined to be invalid,

unenforceable, or otherwise contrary to applicable law, such provision shall be deemed restated

to reflect as nearly as possible and to the fullest extent permitted by applicable law its original

intent and shall not, in any event, affect any other provisions, all of which shall remain valid

and enforceable to the fullest extent permitted by applicable law.




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       PERSONS BOUND AND INTENDED THIRD-PARTY BENEFICIARIES

              27.     The Parties to this Consent Decree expressly intend and agree that this

Consent Decree shall inure to the benefit of all persons with vision disabilities as defined by

the ADA, indicating those who utilize a screen reader to access the Website, which disabled

persons shall constitute third-party beneficiaries to this Consent Decree.

              28.     The signatories represent that they have the authority to bind the

respective parties, Plaintiff and Defendant to this Consent Decree.

                         CONSENT DECREE HAS BEEN READ

              29.     Consent Decree has been carefully read by each of the Parties, and its

contents are known and understood by each of the Parties. This Consent Decree is signed freely

by each party executing it. The Parties each had an opportunity to consult with their counsel

prior to executing the Consent Decree.

                                                   HIMELDA MENDEZ


Dated: ___________________                         By: ______________________
                                                         Himelda Mendez


                                                   PAUL KASMIN GALLERY, INC.


       January 22, 2020                                 Molly Taylor
Dated: ___________________                         By: ______________________

                                                        ______________________

                                                        Press, Marketing & Events Director
                                                   Its: _______________________

APPROVED AS TO FORM AND CONTENT:
                                                   THE MARKS FIRM, P.C.

Dated: ___________________                         By: ______________________
                                                   Bradly G. Marks, Esq.
                                                   175 Varick Street, 3rd Floor
                                                   New York, New York 10014
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                                         Email: brad@markslawpc.com
                                         Phone: 646-770-3775

                                         JACKSON LEWIS, P.C.
       1/8/2020
Dated: ___________________               By: ______________________
                                         Joseph J. DiPalma, Esq.
                                         44 South Broadway, 14th Floor
                                         White Plains, NY 10601
                                         Email: joseph.dipalma@jacksonlewis.com
                                         Phone: 914-872-6920




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   COURT APPROVAL, ADOPTION, AND ENTRY OF THE CONSENT DECREE

               THE COURT, HAVING CONSIDERED the pleadings, law, underlying facts

and having reviewed this proposed Consent Decree,

FINDS AS FOLLOWS:

       1)      This Court has personal jurisdiction over Plaintiff and Defendant for the

purposes of this lawsuit pursuant to 28 U.S.C. §§ 1331;

       2)      The provisions of this Consent Decree shall be binding upon the Parties;

       3)      Entry of this Consent Decree is in the public interest;

       4)      This Consent Decree is for settlement purposes only and does not constitute an

admission by Defendant of any of the allegations contained in the Complaint or any other

pleading in this lawsuit, nor does it constitute any finding of liability against Defendant;

       5)      The Plaintiff is acting as a private attorney general in bringing this lawsuit and

enforcing the ADA; and

       6)      This Consent Decree shall be deemed as adjudicating, once and for all, the

merits of each and every claim, matter, and issue that was alleged, or could have been alleged

by Plaintiff based on, or arising out of, or in connection with, the allegations in the Complaint.

               NOW THEREFORE, the Court approves the Consent Decree and in doing so

specifically adopts it and makes it an Order of the Court.

               DONE AND ORDERED in Chambers at New York, NY, this 7th day of

February, 2020.

                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE
cc: Counsel of record via CM/ECF




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